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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

SHANNON NEALY,                                   )
                                                 )
                     Plaintiff,                  )
                                                 )      Case No. CIV-17-592-C
v.                                               )
                                                 )
THE CITY OF OKLAHOMA CITY, and                   )
WILLIAM BRYLES, in his individual,               )
capacity as UNION PRESIDENT,                     )
                                                 )
                     Defendants.                 )


                         JOURNAL ENTRY OF JUDGMENT

       The Court finds that the City Council of The City of Oklahoma City has approved

the recommendation of the Municipal Counselor to confess judgment without admission of

liability and enter into a compromise settlement in the case herein in the amount of One

Hundred and fifty thousand dollars and 00/100 ($150,000.00), as evidenced by the certified

copy of the attached Resolution (Exhibit 1). This sum includes all claims related to this

case, including but not limited to, prejudgment interest, costs and attorney fees. This is a

compromise settlement of a disputed claim and is in no way an admission of liability.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that pursuant to

a compromise settlement of a disputed claim, and without admitting liability, the Plaintiff

is granted judgment against Defendant The City of Oklahoma City, in the sum of One

hundred fifty thousand dollars and 00/100 ($150,000.00), with interest from the date of

filing of this Judgment at the rate provided by law. Said sum shall be paid in accordance

with 62 Okla. Stat. §§365.5 and 365.6, and 51 Okla. Stat. §§158 and 159.
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DATED this 26th day of June, 2018.




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